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                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION

                                              MOTION FOR DETERMINATION
 XAT.COM LIMITED,                             OF SUBJECT-MATTER
                                              JURISDICTION
           Plaintiff,
                                              Case No. 1:16-cv-00092
 v.

 HOSTING SERVICES, INC. A/K/A                 Chief Magistrate Judge Paul M.
 100TB.COM,                                   Warner

           Defendant.                         Mediator: Magistrate Judge Dustin B.
                                              Pead



         Pursuant to DUCivR 7-1, plaintiff Xat.com Limited (“Xat”) respectfully

submits this Motion for Determination of Subject-Matter Jurisdiction.




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                     RELIEF SOUGHT AND GROUNDS THEREFOR

         Xat requests that the Court determine whether it has subject-matter

jurisdiction over this matter. Xat filed this case in this Court based on diversity

jurisdiction because it believed that there was complete diversity between it and

defendant Hosting Services, Inc. a/k/a 100TB.com (“100TB”). Xat is a company

incorporated and having its principal place of business in the United Kingdom.

And, when it filed the Complaint, Xat believed that 100TB was a Delaware

corporation with its principal place of business in Utah.

         Recently, however, Xat has learned that 100TB’s principal place of business

may be (and might have been at the time the Complaint was filed) in the United

Kingdom. If that is true, the parties would not be diverse pursuant to 28 U.S.C. §

1332(a) and this Court would not have jurisdiction.

         Xat is aware that the United States Court of Appeals for the Tenth Circuit

has, in recent years, demonstrated a willingness to address this issue sua sponte

even after the district court reaches a decision on the merits. This included cases

that had been resolved on the merits in federal district court. With this concern in

mind, Xat requests that the Court resolve whether the parties are diverse under

§ 1332(a) before proceeding further with this litigation.




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                                       BACKGROUND

Pleadings Regarding 100TB’s Principal Place of Business

         1.        Xat filed its Complaint on June 28, 2016. See Dkt. No. 2. Based on

the information available to it at the time, Xat alleged that 100TB was a Delaware

corporation with its principal place of business in Providence, Utah. See Compl.

¶ 2.

         2.        On February 16, 2017, 100TB filed its Answer to the Complaint. See

Dkt. No. 31. In its Answer, 100TB admitted that it was a Delaware corporation

with its principal place of business in Providence, Utah. See Answer ¶ 2.

100TB’s Officers and Directors
         3.        Based on public filings, it now appears that as of June 28, 2016, the

date that Xat filed its complaint, 100TB’s officers and directors were:

                   - John Morris -- president
                   - Adam Kilgour -- vice president and treasurer;
                   - Christopher Matue -- vice president; and
                   - Eileen Campbell -- an officer.




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See 12/06/12 Summary of Online Changes, Utah Department of Commerce, Ex. A;

10/29/2015 Summary of Online Changes, Utah Department of Commerce, Ex. B 1;

01/26/18 Summary of Online Changes, Utah Department of Commerce, Ex. C. 2

         4.        The public filings 100TB made with the State of Utah state that the

address for each of the officers and directors was 517 West 100 North, Suite 225,

Providence, Utah 84332. See Exs. A & C. That, however, does not appear to be

the case.

         5.        It appears that from June 2015 to August 2017, Mr. Morris (100TB’s

president) was the CEO of UK2 Group—100TB’s parent company. See Morris

LinkedIn profile, Ex. D. On his LinkedIn profile, Mr. Morris claims that he

oversaw the daily operations of a company located in Logan, Utah, and lists his

residence as Peterborough, United Kingdom. See id.

         6.        Moreover, after the litigation was filed, Mr. Morris emailed Xat’s

founder and managing director, Chris Hart, regarding settlement of the parties’

dispute. See April 18, 2017 email exchange between John Morris and Chris Hart,

Ex. E. In his email, Mr. Morris represented that he was the “CEO at UK2 Group,

   1
     While Mr. Hunsaker was identified as the Registered Agent on the public filing, it appears
that he left 100TB to work for Visa in or around December 2015. See Hunsaker LinkedIn
Profile, attached as Exhibit F.
   2
     Apparently, 100TB did not submit any changes to the Utah Department of Commerce
regarding its registered principles in 2016 or 2017.


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which manages Hosting Services Inc.” Id. Mr. Morris’s email also stated that he

was “in the US at the moment” and invited Mr. Hart to call Mr. Morris’s mobile

phone number, which was a United Kingdom phone number. See id.

         7.        Similarly, it appears that from August 2011 to November 2017, Mr.

Kilgour (100TB’s vice president and treasurer) was the CFO of UK2 Group. See

Kilgore LinkedIn profile, Ex. G. Mr. Kilgour is also identified as residing in

London, United Kingdom. See id.

         8.        Unlike Mr. Morris and Mr. Kilgour, it appears that Mr. Matue (a Vice

president) and Ms. Campbell (an officer) were actually located in Utah. See Matue

LinkedIn profile, Ex. H; Campbell LinkedIn profile, Ex. I.

         9.        Thus, it appears that when Xat filed its Complaint, 100TB’s president

and its vice president and treasurer were overseeing its daily operations from

London, United Kingdom.

         10.       Additionally, it appears that 100TB’s general counsel when the

Complaint was filed was Jasminka Suzic. See Privilege Logs, attached as Ex. J. It

also appears that Ms. Suzic was an attorney registered to practice and located in the

United Kingdom. See print out from http://solicitors.lawsociety.org, Ex. K.




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100TB’s Representatives with Full Settlement Authority

         11.       Additionally, Xat has been informed that Mr. Morris and Mark Foster

will be traveling from the United Kingdom to attend the mediation and will have

full settlement authority on behalf of 100TB to settle Xat’s claims. See

Declaration of Jordan C. Bledsoe in Support of Motion for Determination of

Jurisdiction (“Bledsoe Decl.”), Ex. L.

         12.       Mr. Foster’s LinkedIn profile states that he has been the legal director

for The Hut Group from January 2012 to the present. See Foster LinkedIn profile,

Ex. M. Mr. Foster’s profile also states he is located in the United Kingdom. Id.

         13.       Both Mr. Morris and Mr. Foster appear to work out of UK2 Group’s

and The Hut Group’s offices, located in the United Kingdom. See id.; Morris

LinkedIn profile, Ex. D.

Location of Offices from Which 100TB’s Operations Were Controlled
         14.       100TB appears to have offices located at 517 West 100 North, Suite

225, Providence, Utah 84332. See Exs. A & C.

         15.       The UK2 Group, 100TB’s parent corporation, appears to have its

headquarters in the United Kingdom. See Printout from

https://www.uk2group.com/, Ex. N (identifying UK2’s registered address as 5th




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Floor, Voyager House, Chicago Avenue, Manchester Airport M90 3DQ, United

Kingdom).

100TB Fails to Respond to Xat’s Emails Requesting Information Regarding
Jurisdiction

         16.       Upon learning that 100TB’s principal place of business may be in the

United Kingdom, Xat’s counsel emailed 100TB’s counsel requesting information

about 100TB’s place of business. See 10/23/18 Email from D. Mortensen to D.

McMillan, Ex. O. In that email, Xat asked:

         In preparation for the upcoming mediation, I write to clarify a couple
         of issues:

         First, I understand that 100TB’s management team, including the
         CEO, Directors and in-house lawyers are in the UK. If my
         understanding       is    incorrect, please    let   me       know
         immediately. Otherwise, please confirm that 100TB’s principal place
         of business is in the UK.

         Second, in your June 27, 2018 email, you stated that your client has
         offices in London and Bristol. What offices are you referring
         to? Who do you consider to be your client?

See id.

         17.       100TB has not responded to that email.

         18.       Accordingly, on October 30, 2018, Xat’s counsel sent another email

to 100TB requesting information about whether 100TB believed the parties were in

the appropriate forum, stating:

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         Our client has requested that we ask you what 100TB meant in its
         Opposition to Xat’s Motion for Leave for Plaintiff Xat.com Limited’s
         Client Representative to Appear at Mediation via Videoconference
         (Dkt. No. 57) when it stated, “Mr. Hart, however, chose this forum . . .
         .” Does 100TB believe that Mr. Hart could have filed in a different
         forum?

See 10/30/18 Email from J. Bledsoe to D. McMillan, Ex. P.

         19.       100TB has not responded to that email, either.

                                        ARGUMENT

I.       A DETERMINATION OF WHETHER XAT AND 100TB ARE
         DIVERSE UNDER 28 U.S.C. § 1332 IS NECESSARY TO ENSURE
         THIS LITIGATION IS PROPERLY BEFORE THIS COURT.
         As the Court is well aware, “[s]ubject-matter jurisdiction involves a court’s

authority to hear a given type of case and may not be waived.” See Radil v.

Sanborn W. Camps, Inc., 384 F.3d 1220, 1224 (10th Cir. 2004). That jurisdiction

is determined as of the time the complaint is filed. Grupo Dataflux v. Atlas Glob.

Grp., L.P., 541 U.S. 567 (2004). However, “[s]ubject-matter jurisdiction may be

raised at any time, and indeed must be raised by any reviewing court.” See Rucker

v. Lew, No. 2:13-CV-00944-DBP, 2015 WL 5026913, at *2 (D. Utah Aug. 25,

2015) (unpublished). “If the court determines at any time that it lacks subject-

matter jurisdiction, the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3).

         Importantly, “[t]o establish subject matter jurisdiction under 28 U.S.C. §

1332, a party must show that complete diversity of citizenship exists between the

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parties and that the amount in controversy exceeds $75,000.” Id. at 1225. In cases

involving foreign entities, it is well-established that Federal courts have “diversity

jurisdiction over cases between citizens of the United States and citizens of foreign

states, but . . . do not have diversity jurisdiction over cases between aliens.” See

Bayerische Landesbank, New York Branch v. Aladdin Capital Mgmt. LLC, 692

F.3d 42, 49 (2d Cir. 2012). “More specifically, ‘diversity is lacking . . . where the

only parties are foreign entities, or where on one side there are citizens and aliens

and on the opposite side there are only aliens.’” Id. (quoting Universal Reins. Co.,

Ltd. v. St. Paul Fire & Marine Ins. Co., 224 F.3d 139, 141 (2d Cir. 2000)).

         Here, Xat has recently become concerned that the Court may not have

diversity jurisdiction over this case and, accordingly, requests that the Court

determine whether it has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332

before the case proceeds any further.

         A.        Both Xat and 100TB Appear to Be Foreign Parties.
         As the Court is aware, corporations are citizens of the place where they are

incorporated and their principal place of business. See 28 U.S.C. § 1332(c); V-1

Oil Co. v. CC & T, Inc., 658 F. Supp. 886, 888 (D. Utah 1987). While the place of

incorporation is typically easy to determine, the principal place of business

requires a consideration of the corporation’s operations. Specifically, the U.S.


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Supreme Court instructs that “the phrase ‘principal place of business’ in

§ 1332(c)(1) refers to the place where a corporation’s high level officers direct,

control, and coordinate the corporation’s activities, i.e., its ‘nerve center,’ which

will typically be found at its corporate headquarters.” Hertz Corp. v. Friend, 559

U.S. 77, 78 (2010). Importantly, “[a] corporation’s ‘nerve center,’ . . . is a single

place.” Id. at 93. Thus, in practice, the “nerve center” should “normally be the

place where the corporation maintains its headquarters—provided that the

headquarters is the actual center of direction, control, and coordination . . . and not

simply an office where the corporation holds its board meetings (for example,

attended by directors and officers who have traveled there for the occasion.” Id.

         Here, it is clear that Xat is incorporated in and has its principal place of

business in the United Kingdom. See Complaint at ¶ 1. Its president and officers

reside in and oversee the daily operations in the United Kingdom. See Printout

from https://beta.companieshouse.gov.uk/company/03615226, Ex. Q. Thus, Xat is

a citizen of the United Kingdom for diversity purposes.

         100TB’s citizenship is not as clear. While it appears to be incorporated in

Delaware, 100TB’s principal place of business is more problematic. Based on its

public filings, it appears 100TB’s “nerve center” is in the United Kingdom rather

than Utah. Indeed, when Xat filed its complaint, 100TB’s president (Mr. Morris)

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and vice president and treasurer (Mr. Kilgour) appear to have been overseeing

100TB’s daily operations from the United Kingdom. In his LinkedIn profile, Mr.

Morris claimed that he joined UK2 Group in 2012 and during his time at UK2

Group he was “[r]esponsible for day to day running of the business -- managing

sales, marketing, customer service, development and technical operations teams in

Logan (Utah), London and Lviv (Ukraine).” See Morris LinkedIn profile, Ex. D;

April 18, 2017 email exchange between John Morris and Chris Hart, Ex. E. He

also claimed that he helped the business undertake “a massive transformation

agenda . . ., seeing rapid growth in the 100TB Brand.” See Morris LinkedIn

profile, Ex. D. Similarly, it appears that 100TB’s General Counsel was also

located in the United Kingdom. Given these facts, it appears that, when the

Complaint was filed, 100TB’s nerve center was in the United Kingdom, not Utah.

         Beyond that, 100TB recently informed Xat that Mr. Morris and Mr. Foster

will be traveling from the United Kingdom to attend the Court-ordered mediation

in December and that they have full authority to settle Xat’s claims. As set forth

above, Mr. Morris and Mr. Foster both live in the United Kingdom and, given their

settlement authority, appear to be directing and controlling 100TB from the United

Kingdom.




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           Ultimately, Xat is concerned that when the Complaint was filed, 100TB

was a Delaware corporation with its principal place of business in the United

Kingdom. If that were the case, both Xat and 100TB would be foreign citizens,

and this Court would lack subject-matter jurisdiction. See also Nike, Inc. v.

Comercial Iberica de Exclusivas Deportivas, S.A., 20 F.3d 987, 991 (9th Cir. 1994)

(“Although the federal courts have jurisdiction over an action between ‘citizens of

a State and citizens or subjects of a foreign state,’ 28 U.S.C. § 1332(a)(2), diversity

jurisdiction does not encompass a foreign plaintiff suing foreign defendants.”). As

the Court is undoubtedly aware, this Court has demonstrated a willingness to

address this issue sua sponte even after the District Court reaches a decision on the

merits. Spring Creek Expl. & Prod. Co., LLC v. Hess Bakken Inv., II, LLC, 887

F.3d 1003, 1013–14 (10th Cir. 2018), as revised (Apr. 13, 2018). Accordingly,

Xat asks that the Court determine whether it has jurisdiction before this litigation

proceeds any further. To that end, Xat asks that the Court order 100TB to

         1.        Identify its officers and directors as of the date when the Complaint
                   was filed; and
         2.        Provide evidence, including declarations under oath, regarding who
                   oversaw the daily business operations and what role each person
                   played when the Complaint was filed.

Given that this Court may not have jurisdiction, Xat requests that the Court

determine its jurisdiction before this litigation proceeds any further.

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                                    CONCLUSION

         For the foregoing reasons, Xat respectfully requests that, before this

litigation proceeds any further, the Court order 100TB to provide information

about its officers, directors and daily operations sufficient for the Court to make a

determination regarding whether the parties are diverse under 28 U.S.C. § 1332(a)

and whether this Court has subject-matter jurisdiction.

         DATED: November 9, 2018

                                              STOEL RIVES LLP


                                              /s/ Jordan C. Bledsoe
                                              David L. Mortensen
                                              Jordan C. Bledsoe

                                              Attorneys for Plaintiff Xat.com Limited




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                           CERTIFICATE OF SERVICE

         I hereby certify that on November 9, 2018, I caused a true and correct copy

of the foregoing to be served by CM/ECF on the following:

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                                                /s/ Robin Noss




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